         Case 1:15-cv-02739-LAP Document 260 Filed 01/11/21 Page 1 of 3




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK



 PETERSEN ENERGÍA INVERSORA, S.A.U. and
 PETERSEN ENERGÍA, S.A.U.,

                             Plaintiffs,
                                                                  Case No.: 1:15-CV-02739 (LAP)
                     -against-

 ARGENTINE REPUBLIC and YPF S.A.,

                             Defendants.


 ETON PARK CAPITAL MANAGEMENT, L.P.,
 ETON PARK MASTER FUND, LTD., and ETON
 PARK FUND, L.P.,

                             Plaintiffs,                          Case No.: 1:16-CV-08569 (LAP)
                     -against-

 ARGENTINE REPUBLIC and YPF S.A.,

                             Defendants.


                       STIPULATION AND [PROPOSED] ORDER
                     REGARDING PLAINTIFFS’ PRIVILEGE CLAIMS

                WHEREAS, on December 22, 2020, the Court directed the parties to “confer and

propose a briefing schedule” on (i) the issue of Spanish privilege law “[t]o the extent that

Plaintiffs still assert that such a privilege applies in this litigation” and (ii) “privilege based on a

litigation funding arrangement with non-parties,” (Petersen ECF No. 249);

                NOW THEREFORE, in consideration of the foregoing, IT IS HEREBY

STIPULATED AND AGREED by and between the parties, through their undersigned counsel,

AND SO ORDERED as follows:
            Case 1:15-cv-02739-LAP Document 260 Filed 01/11/21 Page 2 of 3




                  1.      Plaintiffs stipulate that they have not withheld any documents based on

                          privileges under Spanish law;

                  2.      Plaintiffs stipulate that they will not rely on any privileges under Spanish

                          law for the remainder of these proceedings; 1 and

                  3.      The parties agree to the following briefing schedule on the applicability of

                          privilege based on a litigation funding arrangement:


                          •       Plaintiffs’ moving brief: January 11, 2021

                          •       Defendants’ opposition brief: January 25, 2021

                          •       Plaintiffs’ reply brief: February 1, 2021.



    Dated: January 11, 2021                               Respectfully submitted,

    SULLIVAN & CROMWELL, LLP                              KELLOGG HANSEN TODD FIGEL &
                                                          FREDERICK, P.L.L.C.

    By:      /s/ Robert J. Giuffra, Jr.                   By:    /s/ Derek T. Ho
    Sergio J. Galvis                                      Mark C. Hansen
    Robert J. Giuffra, Jr.                                Derek T. Ho
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    Elizabeth A. Cassady
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    New York, NY 10004-2498                               Inversora, S.A.U., Petersen Energía,
                                                          S.A.U., Eton Park Capital Management,
    Counsel for Defendant Argentine Republic              L.P., Eton Park Master Fund, Ltd., and
                                                          Eton Park Fund, L.P.
    DEBEVOISE & PLIMPTON LLP

    By: /s/ Mark P. Goodman
    Mark P. Goodman
    Shannon Rose Selden
    Dietmar W. Prager

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  The parties will meet and confer if a document or question implicates the Petersen Plaintiffs’
receiver’s representation of other parties, because the privilege may be applicable in that
circumstance.
       Case 1:15-cv-02739-LAP Document 260 Filed 01/11/21 Page 3 of 3




919 Third Avenue
New York, NY 10022
Counsel for Defendant YPF S.A.



SO ORDERED this ____ day of ______, 2021.



                                            LORETTA A. PRESKA
                                            Senior United States District Judge
